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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 24-20968-CIV-ALTONAGA/Reid


                                        )
  LISSET INFANTE and all others similarly
  situated under 29 U.S.C. 216(b),      )
                                        )
                Plaintiff,              )
        vs.                             )
                                        )
                                        )
  JEWISH COMMUNITY SERVICES OF          )
  SOUTH FLORIDA, INC.,                  )
                                        )
               Defendant.               )
  _____________________________________ )


         PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES/CORPORATE
                           DISCLOSURE STATEMENT

         COMES NOW, Plaintiff, by and through the undersigned counsel, pursuant to the Court’s

  Order at D.E. 5, and hereby lists the following entities and/or persons who may have financial

  interest in the outcome of this action:

     1. Plaintiff, LISSET INFANTE, c/o J.H. Zidell P.A.;

     2. J.H. Zidell, Esq. and J.H. Zidell, P.A. - Counsel for Plaintiff;

     3. Defendant, JEWISH COMMUNITY SERVICES OF SOUTH FLORIDA, INC., c/o

         Akerman LLP; Paige S. Newman, Esq. and Arlene K. Kline, Esq.

     4. Paige S. Newman, Esq., Arlene K. Kline, Esq., and Akerman LLP. – Counsel for

         Defendant;

                                                         Respectfully submitted,

                                                         J.H. Zidell, Esq.
                                                         J.H. Zidell, P.A.
                                                         Attorney for Plaintiff
                                                         300 71st Street, Suite 605
                                                         Miami Beach, Florida 33141

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                                                  Tel: (305) 865-6766
                                                  Fax: (305) 865-7167
                                                  Email: ZABOGADO@AOL.COM

                                                  By:__/s/ J.H. Zidell__________
                                                  J.H. Zidell, Esq.
                                                  Florida Bar Number: 0010121


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING

  WAS SENT VIA CM/ECF ON 3/18/2024 TO:


                                      Akerman LLP.
                                 Paige S. Newman, Esq.
                                  Arlene K. Kline, Esq.
                                 Counsel for Defendants
                     777 South Flagler Drive, Suite 1100 West Tower
                               West Palm Beach, Fl, 33401
                                   Tel: (561) 653-5000
                                   Fax: (561) 659-6313
                               arlene.kline@akerman.com
                             danielle.putnam@akerman.com
                              paige.newman@akerman.com
                               elisa.waites@akerman.com


                            By:__/s/ J.H. Zidell__________
                                   J.H. Zidell, Esq.




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